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              Samsung
              Newsroom                                                                              CORPORATE I PRODUCTS I ESG I PRESSRESOURCES




                                 Protect Your Device Your Way With Samsung
                                 Auto Blocker
                                 Korea on October 31. 2023                                                                 Audio   •      Share   :,.   ~




                                 Auto Blocker enables new levels of device protection, bridging a commitment to
                                   security and privacy with Samsung Galaxy's Jong-standing commitment to
                                                           openness and user choice




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                                 Samsung Electronics today introduced Auto Blocker, a new security tool for Samsung Galaxy users designed to
                                 keep their devices protected in the way t hat best f its t heir lifestyle.


                                 Recently released on One UI 6 as part of Samsung Galaxy's expanded arsenal of security and privacy innovations,
                                 Auto Blocker is an opt- in package of additional security measures that gives users more choice as they explore the
                                 customizations enabled by Samsung Galaxy's open ecosystem.



                                 Putting the Choice in Users' Hands

                                 "At Samsung we constantly strive to keep our users safe from security attacks, and with the introduction of Auto
                                 Blocker users can continue to enjoy the benef its of our open ecosystem, knowing that their mobile experience is
                                 secured," said Dr. Seungwon Shin, EVP & Head of Security Team, Mobile eXperience Business at Samsung
                                 Electronics. · we always seek to empower our users to choose for themselves what best suit s their needs - rather
                                 than us deciding on their behalf, and Auto Blocker is no except ion t o that."


                                 One of Auto Blocker's f eatures is the prevention of app installations from unauthorized sources, 1 known as
                                 sideloading. There are many benefits to intentional sideloading, such as enhanced customization and control over a
                                 device's fu nctionality. Those w ho love to safely sideload will experience no change as the f eature is off by default.
                                 For those not in the habit of sideloading or extensive customization, activating Auto Blocker can provide additional
                                 peace of mind by st alling the rise of social engineering at tacks like voice phishing, where attackers could talk users
                                 into installing malicious software.
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Auto Blocker has a ra nge of additional controls. including turning on app security checks2 to help detect potential
malware and prevent harmful commands and software installations by USS cable. This can help protect users in a
situation where someone has physical access to their device. like when charging a phone at an airport.


With this feature also comes an update to Message Guard. which m itigates Zero Click attacks. or direct image
m essages hid ing malicious code. Initially launched for messaging apps from Google and Samsung. it now can help
protect users using popular third party apps.3 This way, users have greater choice over the apps they can safely
use.




Pushing the Industry Forward With New Security Standards

Samsung sets the foundation for a safer, more secure mobile experience for Galaxy users, and Auto Blocker tal<es
this one step f urther by combining industry-leading security standards with user choice to allow custom ers to
control t heir device their way. As the latest featu re t o be added to Samsung's suite of security and privacy
innovations. Auto Blocker furt her optimizes th e mobile experience for users across the Galaxy ecosystem.


Auto Blocker is available now on Samsung Galaxy devices compatible with One UI 6.



1 Autho1ized sources mctude aoogie Play tJnd G818xy Store.

2 Currently not 9w1iloole on US carrier models,

J Messenger, Telegram. KakaoTalk. WhatsApp.




  Aut o Blocker             Galaxy          OneU I 6            Samsung Message Guard                 SOC23


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